Case 2:04-Cr-20467-BBD Document 51 Filed 05/12/05 Page 1 of 2 Page|D 54

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 04-20467-D

ANDRE HUGHES
Defendant.

-_,-_’ -...-_.¢~_/-._’-._r-...¢
-._/

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came on to be heard on April 26, 2005, the United States
Attorney for this district, Lorraine Craig, appearing for the Government
and the defendant, Andre Hughes, appearing in person and With counsel,
Randall Alden, Who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 2 of the
Indictment.

Plea colloquy Was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for TUESDAY, JULY 26, 2005, at
1200 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the // day of Mayr 2905.

 

 

ITED STATES DISTRICT COURT

Wnsdocumentenuxedonthedocketstemincmvwwancq

_~ 1 .f
With Ru|e 55 and/0r32(b) FRCrP on g ffz 59

 

   

UNITED sATE DISTRICT COURT - WTERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:04-CR-20467 Was distributed by faX, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

